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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


JONATHAN D. GIBSON,                                    CIVIL NO. 13-1310 (DSD/JSM)

         Plaintiff,

v.                                                     ORDER

CONSUMER PORTFOLIO
SERVICES, INC., DOES 1-10,
and MS. STEWART,

         Defendants.


         The above matter came on before the undersigned upon plaintiff=s letter to the

Court dated August 30, 2013, [Docket No. 17], requesting clarification regarding this

Court’s Order dated August 30, 2013, striking plaintiff’s Amended Complaint [Docket No.

15] filed on August 26, 2013, for failure to comply with Fed. R. Civ. P. 15(a). On May 31,

2013, plaintiff filed his Complaint. [Docket No. 1]. On August 7, 2013, defendant filed

its Answer and Affirmative Defenses to Complaint. [Docket No. 13]. On August 26,

2013, plaintiff filed an Amended Complaint. After further review of Rule 15(a), this Court

has determined that plaintiff had the right to file the Amended Complaint within 21 days

after service of defendant’s answer. Therefore,

         IT IS HEREBY ORDERED that the Amended Complaint [Docket No. 15] shall not

be stricken. On or before September 19, 2013, defendant shall answer or otherwise

respond to the Amended Complaint.


Dated:           September 4, 2013

                                         s/ Janie S. Mayeron
                                         JANIE S. MAYERON
                                         United States Magistrate Judge
